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                                     CLERK’S MINUTE SHEET
                           IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF NEW MEXICO (AT ALBUQUERQUE)

                                Before the Honorable Karen B. Molzen

                                        Arraignment/Detention

Case Number:        19-CR-3113 JB                   UNITED STATES vs. PADILLA

Hearing Date:    9/23/2019                          Time In and Out:           2:43 pm - 4:37 pm

Clerk:           K. Dapson                          Courtroom:                 Rio Grande

Defendant:       Robert Padilla                     Defendant’s Counsel:       Joe M. Romero, Jr.
                 Robert Goldaris & Kristopher
AUSA
                 Houghton
                                                    Pretrial/Probation:           A. Urias

Interpreter:                                        S/A Chis Nielsen, DEA & S/A Bryan Acee, FBI
PROCEEDINGS
☐      Defendant sworn

☐      First Appearance by Defendant

☒      Defendant received a copy of charging document

☒      Defendant questioned re: time to consult with attorney regarding penalties

☒      Defendant waives reading of Indictment

☒      Defendant enters a Not Guilty plea

☒      Motions due by: October 15, 2019

☒      Discovery Order electronically entered       ☐    Discovery Order previously entered

☒      Case assigned to: Judge Browning

☒      Trial will be scheduled by presiding judge   ☐    Trial currently set
Custody Status
☐      Defendant waives detention hearing
       Defendant remanded to custody of United
☒
       States Marshal's Service
☐      Conditions
Other
☒      USA-direct of S/A; Romero-cross of S/A; Court-findings
